                       Case 4:05-cr-00127-DPM Document 22 Filed 12/05/05 Page 1 of 6
%A0 2458     (Rev. 06/05) Judgment in a Criminal Case
             Shet I




                                   EASTERN                       District of                  ARKANSAS
         UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                             v.
                                                                       Case Number:                      4:05CRO012741 GTE
                                                                        USM Number:
                 RICHARD GILLIAM
                                                                       Kimberly Witherspoon
                                                                       Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       1of the Indictment
17pleaded nolo contendere lo count(s)
  which was accepted by the court.
  was found guilty on
  after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
                                Nature of Offense
18 U.S.C. 52113(a)              Armed Bank Robbery, a Class C Felony
and (d) and Section 2




      The defendant is sentenced as provided in pages 2                        6       of this judgment. The sentence is imposed
the Sentencing Reform Act of 1984.
U T h e defendant has been found not guilty on count(s)
x Count+)          2                                    X   is      arc dismissed on the motion of the United States.

      It is onlered @at the defendantmust notify the United States attorney for this district within 30 davs of any change of name, residence,
        address un1tl11II fines, reshtunon, w)sls, and ial assesmcnls imposed by thisj u d p r y l arr fully paid. If ordered lo pay restilulion,
%e%k%ant must notify h e w)un and United S t a b %mey of material changes in econonuc nrcumstances.

                                                                        1uo1/05
                                                                        Dale of Imposition of Judgment


                                                                                   4
                                                                        Signature of Judge
                                                                                             4             -                           w
                                                                        G. Thomas Eisele
                                                                        UNITED STATES DISTRICT JUDGE
                                                                        Name and Title of Judge
                       Case 4:05-cr-00127-DPM Document 22 Filed 12/05/05 Page 2 of 6
A 0 2456   (Rev. 06/05) Judgment in Crfminal Case
                  -
           Sheet 2 hphnment
                                                                                                     Judgment- Page   2of       6
 DEFENDANT:                   RICHARD GILLJAM
 CASE NUMBER:                 4MCRGU127-01 GTE

                                                              IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprimned for a
total term oE      Fi-Seven (57) Months on Count 1.




       X    The court makes the following reammendations to the Bureau of Prisons:
            That the defendant participate in residential substance abuse treatment, mental health treatmen4 and educational and
            vocational programs during incarceration. That the defendant be designated to the Forrest City, Arkansas facility if
            possible.


       X    The defendant is remanded to the custody of the United Statea Marshal.

            The defendant shall surrender to the United Statea Marshal for this disbict:
                 a                                   am.          p.m.       on
                 as notified by the United Statea MarshaL

       I3 The defendant shall surrender for 8emce of sentence at the i n s t i w n designated by the Bureau of Prisons:
            I3 before2psl
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Oflice.



                                                                 RETURN
 I have executed thisjudgment as follows:




            Defendant delivered                                                           to

 at                                                 , with a certH3ed copy of this judgment


                                                                                                  UNrrZiD STATES MARSHAL

                                                                                  -   -
                                                                         BY
                                                                                               D E P W IJF4TED STATES MARSHAL
                          Case 4:05-cr-00127-DPM Document 22 Filed 12/05/05 Page 3 of 6
A 0 2458      (Rev. 06/05) Judgmenl in a Criminal Case
              Shen 3 - Supervised R e l e
                                                                                                           Judgment-Pege   3 of                 6
DEFENDANT:                     RICHARD GILLIAM
 CASE NUMBER:                  4:05CR00127-01 GTE
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:                      Four (4) Years.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defe?dant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, a s d e t e m e d by the court
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
II] The defendant shall register with the slate sex offender registration agency in the state where the defendant resides, works, or is a
         student, a s directed by the probation officer. (Chezk, ifapplicable.)
II] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of payments sheet of t h ~judgment.
                                    s
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer and shall submit a mthful and complete written report within the first five days of
           each month;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, mining, or other
           acceptable reasons;
    6 ) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7) the defendant shall refrain from excessive use of alcohol and shall no1 purchase, possess, use, distrihule, or adnljnister any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physlc~an;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the dcfcndanl shall not associate with any ersons en aged in criminal activity and d u l l not associate with any person convicted of a
           felony, unless granted permission to do soRy the profauon officer;
  10) the defendant shall permil a probation officer lo visit him or her ar any time at home or elsewhere and shall permit conh-scation of any
      conlraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify,third parties pf risks that may be m i o n + by fhe defendant's criminal
           record orpersonaf htoq or charactensti? and shall p e m t the probahon officer to make such nobficahons and to confirm the
           defendant s compliance with such notlficahon requuement.
                    Case 4:05-cr-00127-DPM Document 22 Filed 12/05/05 Page 4 of 6


                                                                                            Judgmen-Page      4    of       6
DEFENDANT:             RICHARD GIL,LIAM
CASE NUMBER:           4:05CR00127-01 GTE

                      ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

14) The defendant shall    cipate, under the guidance and supervision of the probation officer, in a substance abuse
treatment pro
             r          R"
                  whic may Include teytin outpatient counseling, and residential treatment. Funher, the defendant shall
abstain from e use of alcohol throughout    tk
                                             course of treatment.
15 That the defendant shall participate in mental health counseling under the guidance and supervision of the U.S. Probation
&ce.
16) The defendant shall disclose financial information        n request of the US. Probation office, including, but not Limited
to, loans, lines of credit and tax returns. This also inclu'$
                                                            es records of an business with whlch the defendant is associated.
                                                                          &
No new lines of credit s h d be established without prior approval of the S.Probation offie.
                        Case 4:05-cr-00127-DPM Document 22 Filed 12/05/05 Page 5 of 6
A 0 24.50   (Rev. 06105) Judgment in a Criminl Case
            Sheer 5 -Criminal M o n w Penalties
                                                                                                        Judgmml-Page            of      6         '
 DEFENDANT:                        RICHARD GILLIAM
 CASE NUMBER:                      4:05CR00127-01 GTE
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       A%ssw&a                                           Fine
 TOTALS            $ 100.00                                            $ 0


      The determination of restilution is deferred until
      after such determination.
                                                             -. An          Anended Judgment in a Criminal Care (A0 245C) will be entered


      The defendant must make restihltion (including community restitution) to the following payees in the amounl listed below.

      If the defendant makes a partial paymcnt, cach pa ee shall receive an appmximatel ro rtioned aymenf unless specified otherwise
      the pnonty order or percentage payment mlumn gelow. However, pursuant to 18%.e§ 3664{), all nonfederal vicums must be pad
      before the Un~tedStates ISpad.

 Name of Pavee                                 Total Louse                             tution Ordered                  Prioritv or Percentas
 The Bank of Little Rock                                     56.023                                  $4023




 TOTALS                              $                        6023            $                        6023


       Restitution amount ordered pursuant to plea agreement %

       The debndant must pay intcrest on restitution and a fine of more than $2,500, unless the restitution or h e is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 361x0, All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612Cg).

 X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       X    the interest requirement is waived for the           fine     X restitution.
            the interest requirement for the          h e             restitution is modified as follows:


  Findings for the lolalamount o f l o s ~ a r re uired under Chapters 1 0 9 4 110, 1 1114 and 1 l3AofTiUe 18 for 0ffcn.w committed on or after
 September 13, 1994, hut hefore Awl 23. 1 8 6 .
                        Case 4:05-cr-00127-DPM Document 22 Filed 12/05/05 Page 6 of 6
A 0 2458   (Rev. 06105) ludgmenr in a Criminal Case
           Sheet 6 -Schedule of PaymmLF
                                                                                                        Judgmrnt- Page   6of                6
 DEFENDANT:                 RICHARD GILLIAM
 CASE NUMBER:               4:05CR00127-01GTE

                                                       SCHEDULE OF PAYMENTS
 Having assessed the defendant's abilii to pay, payment of the total crimiial monetary penalties are due as follows:
 A    X    Lump sumpayment of $               100.00         due immediately, balance due


           X
                 not later than
                 in acardance            JI       C,    D.
                                                                . or
                                                                  E, or     X     F below; or
 B    CI Payment to hegin immediitely (may be combined with                  C,           D,     CI F below): or
 C         Payment in equal                    (ag., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to w m m ~ t c e            (e.g,30 or 60 days) after the date of this judgment; or
 D         Payment in equal                    ( a s , weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                    (e.g., 30 or 60 days) after releasc from imprisonment to a
           term of supervision; or
 E         Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           During incarceration the defendant will pay 50 percent er month of all Funds that are available to b h . During wmmunitv
           confinement placemen payments will be reduced to itpercent ofthe defendant's gross monthly income. Beginning the tint
                                     4
           month of supervised re ease, payments will bc I0 p e ~ w per
                                                                     ~ ~month
                                                                         t    of thc defcndant's: monthly g m s s inwme. Interest is waived.



 Unl? the murt h l i ~ e x p r ~ sordered
                                   l
 imprisonment All cnmtnar moneta penalties, except ose payments made throu$: &e Federal Bureau of Pnsons' Inmate ~inanciab
                                                                                                                                                .
                                          otherwise, if t h i s j u d p t impow impriwmmeni, a ment of crirrjnal monetary penalties is due duril:
                                              #
 Responsibility Program, are made to e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amdunt, Joint and Several Amount,
      and corresponding payee, if' appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following murk wst(s):

      The defendant shall forfeit the defendant's interest in the following properiy to the United States:




 Payments shall be applied in the following order: (1 afsessment, (2) restitution principal, (3) restitution interesr (4) fine principal,
 (5) fine interest, (6) community restitution, (7) pena lties, and (8) costs, including cast of prosecution and court costs
